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                 Exhibit 1
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                 )
 OF THE NAACP, et al.,                         )
                                               ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                    )
                                               )
           v.                                  ) Judge Susan P. Baxter
                                               )
 LEIGH M. CHAPMAN, et al.,                     )
                                               )
                Defendants.                    )

                 INTERVENOR-DEFENDANTS’ MOTION TO DISMISS

       Intervenor-Defendants support and seek to uphold free and fair elections on behalf of all

Pennsylvanians. Intervenor-Defendants therefore respectfully move the Court to uphold the

General Assembly’s duly enacted laws governing Pennsylvania’s elections and to dismiss

Plaintiffs’ Complaint. Intervenor-Defendants submit the accompanying Memorandum of Law

demonstrating that Plaintiffs’ single-count Complaint “fail[s] to state a claim upon which relief

can be granted,” Fed. R. Civ. P. 12(b)(6), because the General Assembly’s duly enacted date

requirement for absentee and mail-in ballots does not implicate, let alone violate, the federal

materiality provision, 52 U.S.C. § 10101(a)(2)(B). 1

       WHEREFORE, Intervenor-Defendants respectfully request that the Court GRANT this

motion and DISMISS Plaintiffs’ Complaint.




       1
        Intervenor-Defendants are Individual Voters David Ball, James D. Bee, Debra Biro, Jesse
D. Daniel, Gwendolyn Mae DeLuca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-
Biancaniello, and S. Michael Streib, and Republican Committees the Republican National
Committee, National Republican Congressional Committee, and Republican Party of
Pennsylvania.
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Dated: November 7, 2022                  Respectfully submitted,

                                         /s/ Kathleen A. Gallagher
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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE             )
OF THE NAACP, et al.,                     )
                                          ) Civil Action No.: 1:22-cv-00339
              Plaintiffs,                 )
                                          )
       v.                                 ) Judge Susan P. Baxter
                                          )
LEIGH M. CHAPMAN, et al.,                 )
                                          )
              Defendants.                 )


                                [PROPOSED] ORDER

      AND NOW, this ____ day of ________________, 2022, upon consideration of Intervenor-

Defendants’ Motion to Dismiss, it is hereby ORDERED, ADJUDGED, and DECREED that the

Motion is GRANTED. Plaintiffs’ Complaint is hereby DISMISSED.



                                               ___________________________________
                                               Honorable Susan P. Baxter
                                               United States District Judge
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                  )
 OF THE NAACP, et al.,                          )
                                                ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                     )
                                                )
           v.                                   ) Judge Susan P. Baxter
                                                )
 LEIGH M. CHAPMAN, et al.,                      )
                                                )
                Defendants.                     )

                         MEMORANDUM IN SUPPORT OF
                  INTERVENOR-DEFENDANTS’ MOTION TO DISMISS

       Intervenor-Defendants support and seek to uphold free and fair elections on behalf of all

Pennsylvanians. Intervenor-Defendants therefore respectfully move the Court to uphold the

General Assembly’s duly enacted laws governing Pennsylvania’s elections and to dismiss

Plaintiffs’ Complaint.1

       The General Assembly has mandated that a voter who uses an absentee or mail-in ballot

“shall . . . fill out, date and sign the declaration” printed on the outer envelope of the ballot. 25

P.S. §§ 3146.6(a), 3150.16(a). Just last week, the Pennsylvania Supreme Court held that the

General Assembly’s date requirement is mandatory and, thus, that election officials may not count

any absentee or mail-in ballot that fails to comply with it. See Order, Ball v. Chapman, No. 102

MM 2022 (Pa. Nov. 1, 2022) (per curiam) (“Ball Order”).

       Plaintiffs’ Complaint is the latest in a series of lawsuits asking courts to erode the General



       1
        Intervenor-Defendants are Individual Voters David Ball, James D. Bee, Debra Biro, Jesse
D. Daniel, Gwendolyn Mae DeLuca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-
Biancaniello, and S. Michael Streib, and the Republican Committees the Republican National
Committee, National Republican Congressional Committee, and Republican Party of
Pennsylvania.
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Assembly’s date requirement. But Plaintiffs’ single count wholly “fail[s] to state a claim upon

which relief can be granted” because the date requirement does not violate the federal materiality

provision, 52 U.S.C. § 10101(a)(2)(B). Indeed, the Pennsylvania Supreme Court’s order upheld

the date requirement under the federal materiality provision, see Ball Order at 1, and three Justices

of the U.S. Supreme Court have already concluded that the notion that the date requirement

violates the federal materiality provision is “very likely wrong,” Ritter v. Migliori, 142 S. Ct. 1824,

1824 (2022) (Mem.) (Alito, J., dissenting from the denial of the application for stay). No other

U.S. Supreme Court Justices addressed the merits in the stay posture of that case.

       These decisions are correct: the plain statutory text and governing case law confirm that

the date requirement does not even implicate the federal materiality provision, let alone violate it.

The federal materiality provision prohibits “deny[ing] the right of an[] individual to vote” as part

of an election official’s determination whether that “individual is qualified under State law to

vote,” 52 U.S.C. § 10101(a)(2)(B)—but application of the date requirement to absentee and mail-

in ballots does not deny anyone the right to vote or determine anyone’s qualifications to vote. The

Court should decline Plaintiffs’ invitation to split from the Pennsylvania Supreme Court and the

opinion of three Justices, dismiss Plaintiffs’ Complaint, and uphold the General Assembly’s

commonsense, constitutional, and lawful date requirement.

                                         BACKGROUND

       Plaintiffs acknowledge that this suit is merely the latest salvo in a long line of attempts to

persuade the courts to undo the General Assembly’s date requirement for absentee and mail-in

ballots. See Compl. ¶¶ 36–56 (Dkt. No. 1). In 2020, a majority of the Pennsylvania Supreme

Court held that the date requirement is mandatory and, thus, that election officials may not count

any noncompliant ballot in any election after the 2020 general election. See In re Canvass of




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Absentee and Mail-In Ballots of November 3, 2020 General Election, 241 A.3d 1058, 1079–80

(2020) (Opinion of Justice Wecht); id. at 1090–91 (Opinion of Justice Dougherty, Chief Justice

Saylor, and Justice Mundy).

       In the first two cases following that ruling, the Pennsylvania Commonwealth Court upheld

mandatory application of the date requirement. The Pennsylvania Supreme Court allowed both

decisions to stand. See In re Election in Region 4 for Downington Sch. Bd. Precinct Uwchlan 1,

272 A.3d 993 (Pa. Commw. 2022) (unpublished), appeal denied, 273 A.3d 508 (Pa. 2022); Ritter

v. Lehigh Cnty. Bd. of Elecs., 272 A.3d 989 (Pa. Commw. 2022) (unpublished), appeal denied,

271 A.3d 1285 (Pa. 2022).

       Four days after the Pennsylvania Supreme Court resolved Ritter, individual voters filed a

new lawsuit in federal court claiming that the date requirement violates the federal materiality

provision, 52 U.S.C. § 10101(a)(2)(B). The Third Circuit agreed, but the U.S. Supreme Court

vacated that decision last month. See Migliori v. Cohen, No. 22-1499 (3d Cir. May 27, 2022),

cert. granted and judgment vacated, Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct.

11, 2022) (Mem.). And when addressing a request for a stay at an earlier stage in that case, three

Justices opined that the Third Circuit’s now-vacated holding was “very likely wrong” on the merits

because it rested upon a misconstruction of the materiality provision. Ritter, 142 S. Ct. at 1824

(Mem.) (Alito, J., dissenting from the denial of the application for stay). No other Justices

addressed the merits in that stay posture.

       Meanwhile, the Commonwealth Court twice has invoked the now-vacated decision in

Migliori to depart from the General Assembly’s date requirement in unpublished, non-precedential

cases arising out of the 2022 primary election. See McCormick for U.S. Senate v. Chapman, 2022




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WL 2900112 (Pa. Commw. June 2, 2022) (unpublished); Chapman v. Berks County Bd. of Elecs.,

2022 WL 4100998 (Pa. Commw. Aug. 19, 2022) (unpublished).

       Finally, just last week, the Pennsylvania Supreme Court held that the date requirement is

mandatory and, thus, that any absentee or mail-in ballot that fails to comply with it is invalid. See

Ball Order. The Pennsylvania Supreme Court therefore ordered county boards of elections “to

refrain from counting any absentee and mail-in ballots received for the November 8, 2022 general

election that are contained in undated or incorrectly dated outer envelopes.” Id. at 1. Its order

noted that “[t]he Court is evenly divided on the issue of whether failing to count such ballots

violates 52 U.S.C. § 10101(a)(2)(B).” Id.

       Thus, as Plaintiffs acknowledge—after seven cases in five courts over two years—the

current state of the law is that the General Assembly’s date requirement is mandatory and that any

noncompliant absentee or mail-in ballot may not be counted in the 2022 general election and

beyond. See Compl. ¶¶ 36–56; see also Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006) (federal courts

may not order changes to state election laws on the eve of an election). Plaintiffs now ask the

Court to split from the Pennsylvania Supreme Court and to invalidate the date requirement duly

enacted by the General Assembly and upheld after two years of litigation. See Compl. ¶¶ 59–64.

                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(6) requires dismissal of a complaint that “fail[s] to

state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). The purpose of a Rule

12(b)(6) motion is to test the legal sufficiency of the complaint. See, e.g., Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007). Accordingly, federal courts “disregard[] allegations in the

complaint that are legal conclusions,” Lutz v. Portfolio Recovery Assocs., LLC, 49 F.4th 323, 330

(3d Cir. 2022), and must grant motions to dismiss under Rule 12(b)(6) where the complaint fails




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to “raise a right to relief above the speculative level,” including because it asserts a legally deficient

theory of liability, Twombly, 550 U.S. at 555.

                                            ARGUMENT

        “States may, and inevitably must, enact reasonable regulations of parties, elections, and

ballots to reduce election- and campaign-related disorder.” Timmons v. Twin Cty. Area New Party,

520 U.S. 351, 358 (1997). “[A]s a practical matter, there must be a substantial regulation of

elections if they are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.” Anderson v. Celebrezze, 460 U.S. 780, 788 (1983) (quoting

Storer v. Brown, 415 U.S. 724, 730 (1974)); see also Brnovich v. Democratic Nat’l Comm., 141

S. Ct. 2321, 2347–48 (2021) (because voter “[f]raud is a real risk,” a state may act prophylactically

to prevent fraud “without waiting for it to occur and be detected within its own borders”).

        The General Assembly has prescribed such a regulation through its mandatory date

requirement for absentee and mail-in ballots. See 25 P.S. §§ 3146.6(a), 3150.16(a); Ball Order.

As Justices of the Pennsylvania Supreme Court has affirmed, the date requirement serves an

“unquestionable purpose.” In re Canvass of Absentee and Mail-In Ballots of November 3, 2020

General Election, 241 A.3d at 1090 (Opinion of Justice Dougherty, Chief Justice Saylor, and

Justice Mundy) (citing then-Judge Brobson’s “observ[ations] below”). The date “provides proof

of when the elector actually executed the ballot in full, ensuring their desire to cast it in lieu of

appearing in person at the polling place.” Id. It “establishes a point in time against which to

measure the elector’s eligibility to cast the ballot.” Id. And it “ensures the elector completed the

ballot within the proper time frame and prevents tabulation of potentially fraudulent back-dated

votes.” Id. at 1091; see also id. at 1087 (Opinion of Justice Wecht) (noting that “colorable

arguments also suggest [the] importance” of the date requirement).




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       These are no mere theoretical interests. Earlier this year, officials in Lancaster County

discovered that an individual had cast a fraudulent ballot in her deceased mother’s name. At least

one piece of crucial evidence was the fact that the date provided on the outer envelope was April

26, 2022, twelve days after the mother had passed away. See Affidavit of Probable Cause ¶ 2,

Police Criminal Complaint, Com. v. Mihaliak, No. CR-126-22 (June 3, 2002) (Ex. A).

       In all events, Plaintiffs’ contention that the date requirement violates the federal materiality

provision contravenes the provision’s plain statutory text and governing law—resting instead on a

misreading of federal law that would invalidate a broad swath of duly enacted state election rules.

The Court should dismiss the Complaint and uphold the General Assembly’s date requirement and

its authority to enact commonsense laws governing Pennsylvania’s elections.

I.     MANDATORY APPLICATION OF THE DATE REQUIREMENT DOES NOT
       VIOLATE THE FEDERAL MATERIALITY PROVISION
       Plaintiffs acknowledge that three Justices of the U.S. Supreme Court dissented from denial

of the stay in Migliori, but they do not recount the basis for that dissent. See Compl. ¶ 47. Those

Justices concluded that the Third Circuit panel’s view that mandatory application of the date

requirement violates the federal materiality provision is “very likely wrong.” Ritter, 142 S. Ct. at

1824 (Mem.) (Alito, J., dissenting from the denial of the application for stay). The plain statutory

text and governing law confirm that the General Assembly’s date requirement does not even

implicate, let alone violate, 52 U.S.C. § 10101(a)(2)(B). The Court should dismiss the Complaint.

        A.     Application Of The Date Requirement Does Not Deny Anyone The Right To
               Vote Or Determine Anyone’s Qualifications To Vote

       The materiality provision states:

       No person acting under color of law shall … deny the right of any individual to
       vote in any election because of an error or omission on any record or paper relating
       to any application, registration, or other act requisite to voting, if such error or
       omission is not material in determining whether such individual is qualified under
       State law to vote in such election.


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52 U.S.C. § 10101(a)(2)(B).

        Application of the General Assembly’s date requirement to preclude counting of undated

or incorrectly dated absentee or mail-in ballots does not violate this provision for at least three

reasons. First, the materiality provision prohibits only “deny[ing] the right of any individual to

vote,” not imposing mandatory rules on the act of completing and casting a ballot. Id. The

materiality provision therefore has no application to the date requirement because “[w]hen a mail-

in ballot is not counted because it was not filled out correctly, the voter is not denied ‘the right to

vote.’” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial of the application

for stay) (quoting 52 U.S.C. § 10101(a)(2)(B)). Rather, “that individual’s vote is not counted

because he or she did not follow the rules for casting a ballot.” Id.

        An individual “may be unable to cast a vote for any number of reasons,” such as showing

up to the polls after Election Day, failing to sign or to use a secrecy envelope for an absentee or

mail-in ballot, attempting to vote for too many candidates for a single office, returning the ballot

to the wrong location, or arriving at the wrong polling place. See id. Application of these rules

does not deny the right to vote; nor does application of the date requirement. See id. at 1825

(“Even the most permissive voting rules must contain some requirements, and the failure to follow

those rules constitutes the forfeiture of the right to vote, not the denial of that right.”); id. (“[I]t

would be absurd to judge the validity of voting rules based on whether they are material to

eligibility.”); see also Rosario v. Rockefeller, 410 U.S. 752, 757 (1973) (application of neutral

state-law voting requirement does not “disenfranchise” voters); Timmons, 520 U.S. at 358 (“States

may, and inevitably must, enact reasonable regulations” for effectuating votes); Brnovich, 141 S.

Ct. at 2338 (“Casting a vote, whether by following the directions for using a voting machine or

completing a paper ballot, requires compliance with certain rules.”); DNC v. Wisconsin State Leg.,



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141 S. Ct. 28, 35 (Mem.) (Oct. 26, 2020) (Kavanaugh, J., concurring) (“In other words, reasonable

election deadlines do not ‘disenfranchise’ anyone under any legitimate understanding of that

term.”). As the Fifth Circuit has reasoned in a precedential, non-vacated decision, “[i]t cannot be

that any requirement that may prohibit an individual from voting if the individual fails to comply

denies the right of that individual to vote under” the federal materiality provision. Vote.Org v.

Callanen, 39 F.4th 297, 305 n.6 (5th Cir. 2022).

       Second, the materiality provision requires that the error or omission affect a

“determin[ation] whether such individual is qualified under State law to vote.” 52 U.S.C.

§ 10101(a)(2)(B). It therefore regulates requirements and practices related to qualifications and

registration to vote, not rules like the date requirement “that must be met in order to cast a ballot

that will be counted.” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial of

the application for stay); see also Vote.Org, 39 F.4th at 305 n.6.

       Congress enacted the materiality statute and the broader § 10101 of which it is part “to

enforce th[e] [Fifteenth] Amendment[,]” United States v. Mississippi, 380 U.S. 128, 138 (1965),

which guarantees that “[t]he right of citizens of the United States to vote shall not be denied or

abridged by the United States or by any State on account of race, color, or previous condition of

servitude,” U.S. Const. amend. XV, § 1. Congress’s purpose in enacting the materiality statute

was to “forbid[] the practice of disqualifying voters for their failure to provide information

irrelevant to their eligibility to vote.” Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003)

(emphasis added). In particular, Congress addressed “the practice of requiring unnecessary

information for voter registration”—such as listing the registrant’s “exact number of months and

days in his age”—“with the intent that such requirements would increase the number of errors or

omissions on the application forms, thus providing an excuse to disqualify potential voters.” Id.




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In other words, “[s]uch trivial information served no purpose other than as a means of inducing

voter-generated errors that could be used to justify rejecting applicants.” Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008) (emphasis added); see also H. Rep.

No. 88-914, pt. 2, at 5 (1963) (“[R]egistrars [would] overlook minor misspelling errors or mistakes

in age or length of residence of white applicants, while rejecting” an application from an African-

American applicant “for the same or more trivial reasons.”).

       The federal materiality statute thus functions as a safeguard against discriminatory

application of state voter qualification and registration rules. See Mississippi, 380 U.S. at 138;

Schwier, 340 F.3d at 1294; Browning, 522 F.3d at 1173; see also H. Rep. No. 88-914, pt. 1, at 19

(recognizing that Title I of the Civil Rights Act, now codified in § 10101, was part of an effort “by

which the Congress took steps to guarantee to all citizens the right to vote without discrimination

as to race or color”). The two other subsections of § 10101(a)(2) further underscore this point:

those subsections require election officials to apply uniform “standard[s], practice[s], [and]

procedure[s] . . . in determining whether any individual is qualified to vote under state law,” 52

U.S.C. § 10101(a)(2)(A), and restrict the use of literacy tests “as a qualification for voting in any

election,” id. § 10101(a)(2)(C).

       Here, the date on the absentee or mail-in ballot declaration is not used to determine an

individual’s qualifications to vote, but rather the validity of a ballot. Ritter, 142 S. Ct. at 1825

(Mem.) (Alito, J., dissenting from the denial of the application for stay); see also Vote.Org, 39

F.4th at 305 n.6. Indeed, mandatory application of the date requirement results in invalidation of

a noncompliant ballot, not a “determin[ation]” that the individual is or is not “qualified under State

law to vote.” 52 U.S.C. § 10101(a)(2)(B). In other words, mandatory application of the date

requirement results in a ballot not being counted, not in an individual being removed from, or




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prevented from joining, the list of registered voters. Compare, e.g., Schwier, 340 F.3d at 1294;

Browning, 522 F.3d at 1173; H. Rep. No. 88-914, pt. 2, at 5; see also Ritter, 142 S. Ct. at 1825

(Mem.) (Alito, J., dissenting from the denial of the application for stay); Vote.Org, 39 F.4th at 305

n.6. Because mandatory application of the date requirement does not result in a qualification

determination, it is outside the plain terms and narrow scope of, and does not violate, the federal

materiality provision. See Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial

of the application for stay); see also Vote.Org, 39 F.4th at 305 n.6; Schwier, 340 F.3d at 1294;

Browning, 522 F.3d at 1173.

        Third, the materiality provision demands that the “record or paper” be related to an

“application, registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B). To be

sure, an absentee or mail-in ballot and accompanying declaration is a “record or paper.” Id. But

casting a ballot—which, under Pennsylvania law, requires completing the declaration, see 25 P.S.

§§ 3146.6(a), 3150.16(a)—constitutes the act of voting, not an application, registration, or other

act requisite to voting. Ritter, 142 S. Ct. at 1826 n.2 (Mem.) (Alito, J., dissenting from the denial

of the application for stay). It therefore would be an “awkward” statutory construction at best to

extend the materiality provision to absentee and mail-in ballots and the date requirement. Id.

Voting is voting; it is not an act requisite to voting.

        B.      There Is No Tenable Basis To Conclude That Mandatory Application Of The
                Date Requirement Violates The Federal Materiality Provision

        In their Complaint, Plaintiffs offer two main arguments in support of their claim that the

date requirement violates the federal materiality provision. Both are not only unpersuasive but

also, in fact, demonstrate that the Court should decline Plaintiffs’ invitation to create a split of

authority with the Pennsylvania Supreme Court on the date requirement’s validity.




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       First, the entire thrust of Plaintiffs’ Complaint is that “[a] voter’s failure to handwrite the

date next to their signature on the ballot return envelope is not material to determining their

qualification to vote,” Compl. ¶ 62, which in Pennsylvania requires being at least 18 years of age

on the date of the election; having been a citizen of Pennsylvania for at least one month; having

lived in the relevant election district for at least 30 days; and not being imprisoned for a felony,

see 25 P.S. § 1301; see also Compl. ¶ 61. Plaintiffs are entirely correct that compliance with the

date requirement is not material to any individual’s qualifications to vote. But that point disproves

Plaintiffs’ case. As explained above, the date requirement is not used to determine whether an

individual is “qualified under State law to vote,” 52 U.S.C. § 10101(a)(2)(B), so it does not

implicate, let alone violate, the federal materiality provision, see Ritter, 142 S. Ct. at 1825 (Mem.)

(Alito, J., dissenting from the denial of the application for stay); see also Vote.Org, 39 F.4th at 305

n.6; Schwier, 340 F.3d at 1294; Browning, 522 F.3d at 1173.

       In fact, Plaintiffs’ proposed reading of the federal materiality provision is breathtakingly

broad—and, unsurprisingly, incorrect. Under Plaintiffs’ reading, states could enact no mandatory

rules against “errors or omissions” on any voting “record[s] or paper[s]” except those that merely

implement the “material” requirements for “determining whether [an] individual is qualified under

State law to vote.” Compl. ¶ 60. In other words, under Plaintiffs’ construction of the federal

materiality provision, states could not adopt any requirements for completing ballots or ballot-

return envelopes that do not confirm the individual’s qualifications to vote.

       Take, for example, the General Assembly’s requirement that a voter sign an absentee or

mail-in ballot return envelope, which appears in the very same statutory sentence as the date

requirement. See 25 P.S. §§ 3146.6(a), 3150.16(a) (voter “shall . . . fill out, date and sign the

declaration” printed on the outer envelope of the ballot); see also Ritter, 142 S. Ct. at 1826 n.2




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(Mem.) (Alito, J., dissenting from the denial of the application for stay) (discussing signature

requirement).   Before the Pennsylvania Supreme Court just last month, Defendant Acting

Secretary Chapman agreed that the signature requirement is valid and mandatory and does not

violate the federal materiality provision. See Acting Sec’y Ans. 15–23, Ball v. Chapman, No. 102

MM 2022 (Oct. 19, 2022) (“Acting Sec’y Ans.”) (Ex. B). But under Plaintiffs’ proposed reading,

the signature requirement would violate the federal materiality provision: a failure to provide a

signature is an “omission” or “an error” on a “record or paper,” and the signature requirement is

“immaterial to whether the voter is qualified under State law to vote in [the] election.” Compl.

¶ 60 (internal quotation marks omitted).

       Take, as another example, the secrecy-envelope requirement contained in the same

statutory section as the date requirement. See 25 P.S. §§ 3146.6(a), 3150.16(a) (voter “shall . . .

enclose and securely seal” the ballot in a secrecy envelope). The Pennsylvania Supreme Court has

upheld that requirement as mandatory, see Pa. Dem. Party v. Boockvar, 238 A.3d 345, 379–80

(Pa. 2020), and the Acting Secretary conceded last month that it does not violate the federal

materiality provision, see Acting Sec’y Ans. 39 n.15. But it would on Plaintiffs’ proposed reading:

a failure to use a secrecy envelope is an “omission” or “an error” involving a “record or paper,”

and the signature requirement is “immaterial to whether the voter is qualified under State law to

vote in [the] election.” Compl. ¶ 60 (internal quotation marks omitted).

       If another example were somehow needed, consider also the General Assembly’s

commonplace prohibition on “mark[ing] [a] ballot for more persons for any office than there are

candidates to be voted for for such office.” 25 P.S. § 3063(a). Under the Election Code, any such

overvotes are invalid, and the ballot “shall not be counted for such office.” Id. Under Plaintiffs’

proposed construction of federal law, the overvote prohibition would violate the materiality




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provision: mismarking a ballot is an “omission” or “an error” involving a “record or paper,” and

the overvote prohibition is “immaterial to whether the voter is qualified under State law to vote in

[the] election.” Compl. ¶ 60.

       Thus, Plaintiffs’ reading of federal law “would subject virtually every electoral regulation”

related to voting records and papers to the superintendence of the federal materiality provision,

“hamper the ability of States to run efficient and equitable elections, and compel federal courts to

rewrite state electoral codes.” Clingman v. Beaver, 544 U.S. 581, 593 (2005). Indeed, if Plaintiffs’

construction were correct, numerous state election rules—such as the General Assembly’s

signature and secrecy-envelope requirements and overvote prohibition—have been invalid for

nearly sixty years, since Congress enacted the federal materiality provision in 1964. But, of course,

Plaintiffs’ construction is not correct: states can and do enact a wide range of laws that regulate

how voting is conducted and prohibit omissions and errors on voting records or papers without

running afoul of the federal materiality provision. That is because application of those laws—like

mandatory application of the General Assembly’s date requirement—does not “deny the right of

any individual to vote” or result in a determination whether that individual “is qualified under State

law to vote.” 52 U.S.C. § 10101(a)(2)(B); see also supra Part I.A.

       Second, Plaintiffs cite to the Third Circuit panel’s vacated opinion in Migliori as

“persuasive” authority. Compl. ¶ 47. But “of necessity [the Supreme Court’s] decision vacating

the judgment of the [Third Circuit] deprives that court’s opinion of precedential effect.” County

of Los Angeles v. Davis, 440 U.S. 625, 634 n.6 (1979) (addressing consequences of Munsingwear

vacatur); see also Polychrome Int’l Corp. v. Krigger, 5 F.3d 1522, 1534 n.30 (3d Cir. 1993) (court

is not “bound” by holding in a vacated opinion) (cited at Compl. ¶ 47). Munsingwear vacatur “is

commonly utilized … to prevent a judgment, unreviewable because of mootness, from spawning




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any legal consequences.” United States v. Munsingwear, Inc., 340 U.S. 36, 41 (1950). The Third

Circuit’s decision becoming moot prevented its review by the Supreme Court, and the subsequent

vacatur “eliminate[d] [the] judgment, review of which was prevented through happenstance.” Id.

at 40. The Court should not rely on the Third Circuit’s untested—and accordingly erased—

analysis. Moreover, for the reasons explained above, that opinion was wrongly decided. See supra

Part I.A.

       Nor should the Court follow the two Commonwealth Court decisions from earlier this year

holding that the date requirement violates the federal materiality provision. See Compl. ¶¶ 48–49

(discussing McCormick and Chapman). Those decisions relied upon the now-vacated Migliori

decision, have been superseded by the Pennsylvania Supreme Court’s holding in Ball last week,

and, in all events, were incorrect. See McCormick, 2022 WL 2900112; Chapman, 2022 WL

4100998; Ball Order at 1; supra Part I.A.

                                        CONCLUSION

       The Court should dismiss Plaintiffs’ Complaint.




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Dated: November 7, 2022                   Respectfully submitted,

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             IN THE SUPREME COURT OF PENNSYLVANIA
                        MIDDLE DISTRICT


                                 No. 102 MM 2022


                              DAVID BALL, ET AL.,

                                                                      Petitioners
                                           v.

         LEIGH M. CHAPMAN, ACTING SECRETARY OF THE
                   COMMONWEALTH, ET AL.,

                                                                     Respondents


     LEIGH M. CHAPMAN’S ANSWER TO THE APPLICATION TO
      EXERCISE KING’S BENCH POWER OR EXTRAORDINARY
                        JURISDICTION


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                                INTRODUCTION

      More than 1.2 million Pennsylvanians have applied to vote by absentee or

mail-in ballot for the 2022 General Election. Almost 300,000 of those voters have

already returned their ballots. And some of those hundreds of thousands of voters

surely neglected to date the declaration printed on their ballot’s return envelope.

But a voter who inadvertently omitted the date still had every reason to expect that

their vote will be counted.

      Indeed, since May, Commonwealth and federal courts have held three times

that a timely received absentee or mail-in ballot cannot be set aside merely because

the voter neglected to hand write an inconsequential date on the return envelope.

Migliori v. Lehigh Cnty. Bd. of Elections, 36 F.4th 153 (3d Cir. 2022), judgment

vacated as moot, Ritter v. Migliori, 2022 WL 6571686 (Mem.) (U.S. Oct. 11,

2022); Chapman v. Berks Cnty. Bd. of Elections, No. 355 MD 2022, 2022 WL

4100998 (Pa. Commw. Ct. Aug. 19, 2022); McCormick for U.S. Senate v.

Chapman, No. 286 MD 2022, 2022 WL 2900112 (Pa. Commw. Ct. June 2, 2022).

For the 2022 General Primary Election, all but one county board properly

canvassed and counted ballots where the voter’s only error was to omit the date on

the return envelope, or reported that they had no such ballots (with the one

exception reflecting only an administrative oversight).
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      Now, with the election underway and only three weeks remaining until

Election Day, Petitioners ask this Court to sow widespread confusion by changing

the voting rules to prohibit county boards from counting ballots submitted in return

envelopes without a date declaration. They also want this Court to prohibit county

boards from counting ballots returned in envelopes with “incorrectly” dated

declarations, a position that has no legal support, that has never been considered by

any court and that, in any event, would be impossible to implement because county

boards have no means of determining the “correct” date.

      Petitioners claim “the time for the Court to act is now.” Br. at 3. But there is

no justifiable reason for Petitioners to have waited until the most disruptive

moment before asking this Court to intervene. County boards’ obligation to count

the class of ballots at issue here has been litigated and decided repeatedly, as the

petition itself makes clear. In fact, two of the Petitioners in this case were involved

in litigation about the same issue earlier this year, and appealed a Commonwealth

Court order requiring county boards to canvass mailed ballots returned without a

dated declaration. See McCormick v. Chapman, No. 67 MAP 2022 (Pa. 2022). But

those Petitioners voluntarily dismissed their own appeal, forgoing that avenue for

ordinary resolution of the issues raised here.

      Nor is there any reason that this Court must resolve these issues in the

expedited, extraordinary fashion that Petitioners seek. If Petitioners believe there

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are unanswered questions about the consequence of a declaration date, they can

raise those issues through the normal course.1 That Petitioners may not like the

answers they have previously gotten from other courts does not justify forgoing the

lower courts entirely.

      Even if these equitable considerations did not alone require denying

Petitioners’ request for this Court to act pursuant to its extraordinary powers,

Petitioners’ legal claims are without merit.2 There is no basis for disenfranchising

voters who neglect to write an inconsequential date, or who write the “incorrect”

date, on their return-envelope declaration. Rather, Pennsylvania and federal law

require that such ballots be counted.

      Petitioners make no meaningful argument that Pennsylvania law permits

excluding ballots based on an omitted or incorrect date on the return-envelope

declaration. For undated declarations, Petitioners fail to engage with the reasoning

set forth in the comprehensive Commonwealth Court opinions rejecting their


      1
        There already exists litigation—brought by several members of the General
Assembly’s Republican caucus—that raises the issue Petitioners raise here. See
Petition for Review, Bonner v. Chapman, No. 364 MD 2022 (Pa. Commw. Ct. July
20, 2022). That case is fully briefed and was already argued before the en banc
Commonwealth Court.
      2
         All three Republican Committee Petitioners in this case also urge this
Court to conclude that any such voter would be prohibited from adding or
correcting the date. See generally Brief for Appellant, Republican Nat’l Comm. v.
Chapman, No. 100 MAP 2022 (Pa. Oct. 5, 2022).

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position. Nor do they engage with the relevant text, history, and structure of the

Election Code, all of which belie their position. And Petitioners make no argument

at all in support of their request that county boards be ordered to set aside ballots

returned with an “incorrectly” dated declaration. They fail to do so even though

county boards have consistently counted these ballots, no court has ever questioned

that practice, and county boards would be unable to verify a date’s accuracy.

       Moreover, Petitioners’ interpretation of the federal statute that independently

prohibits county boards from refusing to count the ballots at issue here (and would

do so even assuming Pennsylvania law authorized such refusal) depends on basic

mistakes about Pennsylvania election law and would render the relevant federal

statute a nullity.

       For all these reasons, this Court should deny the request to exercise

jurisdiction and should not grant Petitioners any of their requested relief.

                       STATEMENT OF JURISDICTION

       This Court may opt to “assume plenary jurisdiction of” matters “of

immediate public importance” at any stage of litigation. 42 Pa.C.S. § 726. This

Court also is endowed with the “supreme judicial power of the Commonwealth,”

Pa. Const. art. V, § 2(a), and may exercise that power “as fully and amply, to all

intents and purposes, as the justices of the Court of King’s Bench, Common Pleas




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and Exchequer, at Westminster, or any of them, could or might do on May 22,

1722,” 42 Pa.C.S. § 502.

      These extraordinary powers are to be “exercised with extreme caution.”

Commonwealth v. Williams, 129 A.3d 1199, 1206 (Pa. 2015). This Court’s unique

jurisdictional powers are reserved for questions of exceptional public importance

that must be resolved with urgency. In re Bruno, 101 A.3d 635, 671 (Pa. 2014).

They are not available so that parties may “bypass an existing constitutional or

statutory adjudicative process.” Id. at 669. And this Court should not allow parties

that affirmatively abandoned an opportunity to raise legal challenges through

ordinary litigation to invoke its extraordinary sources of jurisdiction.

      Relevant here, this Court—in a post-election challenge that needed to be

resolved for the 2022 General Primary Election to conclude—previously denied a

request to exercise extraordinary jurisdiction to consider the very sorts of ballots

Petitioners ask the Court to consider in this action. See Order, McCormick v.

Chapman, No. 46 MM 2022 (Pa. May 31, 2022).

                           STATEMENT OF THE CASE

      Pennsylvania law allows any qualified elector to vote by mail as either an

absentee or no-excuse mail-in voter. 25 P.S. §§ 3146.1, 3150.11. The Election

Code provides materially identical instructions to voters who vote by either

method. Among those instructions, voters are to mark their ballot before 8 p.m. on

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Election Day, put the completed ballot in a secrecy envelope, and then put the

secrecy envelope in a ballot return envelope. Id. §§ 3146.6(a), 3150.16(a). The

return envelope has a pre-printed declaration, prescribed by the Secretary of the

Commonwealth, that contains “a statement of the electors qualifications, together

with a statement that such elector has not already voted in such primary or

election.” Id. §§ 3146.4, 3150.14. Voters are instructed that they “shall … fill out,

date and sign” the declaration before submitting their envelope to the appropriate

county board of election. Id. §§ 3146.6(a), 3150.16(a).

      A separate section of the Election Code sets forth county boards’

responsibilities with respect to the canvassing and counting of absentee and mail-in

ballots after they have been returned. Id. § 3146.8. That section lays out the

specific process county boards are to follow in canvassing and counting ballots.

For instance, it provides that county boards may “meet no earlier than seven

o’clock   A.M.    on   election   day”    to   begin   pre-canvassing   ballots.   Id.

§ 3146.8(g)(1.1). Of particular relevance here, it directs county boards to “examine

the declaration on the envelope of each ballot” and to determine whether the

return-envelope “declaration is sufficient.” Id. § 3146.8(g)(3).

      Over the last two years there have been multiple disputes about whether the

omission of a date on the return-envelope declaration requires excluding an

otherwise legal ballot. This Court resolved one such dispute in an expedited post-

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election challenge during the 2020 General Election. See In re Canvass of Absentee

and Mail-in Ballots of Nov. 3, 2020 Gen. Election, 241 A.3d 1058 (Pa. 2020). Just

five days after exercising extraordinary jurisdiction in that case, this Court ordered,

without a majority opinion, that ballots returned with a signed but undated

declaration could be counted for the 2020 General Election. Id.

      Following the 2021 Municipal Election, two divided panels of the

Commonwealth Court ruled that certain timely received ballots returned by a

qualified voter in an envelope with a signed but undated declaration would not be

counted. Ritter v. Lehigh Cnty. Bd. of Elections, 272 A.3d 989 (Pa. Commw. Ct.

2022); In re Election in Region 4 for Downingtown Sch. Bd. Precinct Uwchlan 1,

272 A.3d 993 (Pa. Commw. Ct. 2022).

      One of those two decisions—related to a judicial election in Lehigh

County—resulted in federal litigation in which the Third Circuit ultimately held

that federal law prohibits county boards from setting aside timely received mailed

ballots merely because a qualified voter forgot to date the return envelope’s

declaration. Migliori v. Lehigh Cnty. Bd. of Elections, 36 F.4th 153 (3d Cir. 2022).3

After the U.S. Supreme Court denied one candidate’s request to stay the Third
      3
        Migliori was brought by individual voters whose ballots had been excluded
because they omitted the declaration date. There were 252 ballots at issue in that
case; as the Third Circuit noted, an analysis showed that the average age of the
voters whose ballots were excluded was 71, while 15 of the voters were over the
age of 90. Migliori, 36 F.4th at 156 n.18

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Circuit’s judgment, Ritter v. Migliori, 142 S. Ct. 1824 (Mem.) (2022), all lawfully

cast ballots were counted and the winner was certified. A week ago, after the

losing candidate had conceded his defeat, the U.S. Supreme Court granted a

request to vacate the Third Circuit’s judgment under United States v.

Munsingwear, Inc., 340 U.S. 36 (1950), because the case became moot. Ritter v.

Migliori, 2022 WL 6571686 (Mem.) (Oct. 11, 2022). That Court did not express a

view of the merits.

      Finally, in cases related to the 2022 General Primary Election, the

Commonwealth Court twice issued comprehensive decisions explaining why

neither Pennsylvania law nor federal law allows county boards to set aside timely

received ballots that qualified voters return with a signed but undated declaration.

See Chapman v. Berks Cnty. Bd. of Elections, No. 355 MD 2022, 2022 WL

4100998 (Pa. Commw. Ct. Aug. 19, 2022); McCormick for U.S. Senate v.

Chapman, No. 286 MD 2022, 2022 WL 2900112 (Pa. Commw. Ct. June 2, 2022).

      Two Petitioners here—the Republican National Committee and the

Republican Party of Pennsylvania—were parties in McCormick and argued in

Commonwealth Court that no ballot returned in an undated declaration may be

counted. Those parties appealed the Commonwealth Court’s preliminary

injunction, but then decided to abandon their own appeal, preventing this Court

from reviewing the relevant questions well before the general election. See

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McCormick v. Chapman, No. 67 MAP 2022 (Pa. 2022). Once the appeal was

dismissed, the petitioner discontinued his action in Commonwealth Court.

      In the second case, the Acting Secretary brought an action against three

counties that had refused to include any ballots returned in envelopes lacking dated

declarations in their certified totals. Chapman v. Berks Cnty. Bd. of Elections, No.

355 MD 2022, 2022 WL 4100998 (Pa. Commw. Ct. Aug. 19, 2022). The

Commonwealth Court entered judgment for the Acting Secretary and, with that

decision, 66 of the 67 counties certified results for the 2022 General Primary

Election that did not exclude timely received absentee or mail-in ballots from

qualified electors even if the declaration on the ballot-return envelope was

undated.4




      4
       Butler County, the one exception, was not named as a respondent in Berks
because the Department of State had not properly recorded Butler County’s
statement that it would not count the ballots at issue. Berks, 2022 WL 4100998, at
*6.

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                                  ARGUMENT

          I.   Petitioners Seek to Upend Election Procedures After the 2022
               General Election Has Begun
      Petitioners filed this suit barely three weeks before Election Day, with

voting already well underway. As of October 18, 2022, over 1.2 million voters

have applied for an absentee or mail ballot for the 2022 General Election and

almost 300,000 of those ballots have been returned.5 Coming into this election,

voters and county officials have been told by multiple courts that ballots will be

counted even if the voter forgot to date the declaration printed on the return

envelope. Migliori, 36 F.4th 153; Berks, 2022 WL 4100998; McCormick, 2022

WL 2900112.6 And in the 2022 General Primary Election, 66 of 67 counties did



      5
        The Daily Mail Ballot Report is publicly available on the Department of
State’s website at: https://www.vote.pa.gov/About-Elections/Pages/Election-
Results.aspx.
      6
         The Department of State’s current guidance to counties reflects these
judicial decisions. Pa. Dep’t of State, Guidance Concerning Examination of
Absentee and Mail-in Ballot Return Envelopes, Version 3.0, at 2-3 (Sept. 26, 2022)
(attached as Exhibit A to Petitioners’ Application for Extraordinary Jurisdiction).
Although Petitioners argue that the Acting Secretary’s guidance requires county
boards to canvass and count timely received mailed ballots from qualified voters
who neglected to date their return-envelope declaration, Br. at 23-24, the Acting
Secretary does not claim the power to instruct county boards which ballots must be
canvassed and counted. Those instructions come from the Election Code, and from
federal law to the extent there is a conflict. The Acting Secretary’s guidance
merely reflects the law as interpreted by Pennsylvania and federal courts.



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not disqualify votes based on the omission of a date on the return-envelope

declaration.

      Despite this consensus, Petitioners request that this Court exercise

extraordinary jurisdiction and enter an order that would change election practices

for the 2022 General Election while mail-in voting is already in process. To grant

this relief would upset the interests of all voters who already applied for—and in

many cases already submitted—absentee or mail-in ballots under the current state

of the law. Any voter who already returned an absentee or mail-in ballot without a

dated declaration likely will be disenfranchised despite multiple courts’ recent

contrary holdings.

      Worse than that, Petitioners make the radical request that county boards be

ordered to segregate and exclude ballots returned with an “incorrectly” dated

declaration. No court has ever questioned that ballots returned with “incorrectly”

dated declarations must be canvassed and counted, and there is no evidence that

any county board has ever excluded them. Indeed, in all relevant cases, the record

has established that county boards do not set aside ballots returned with

“incorrectly” dated declarations. Berks, 2020 WL 4100998, at *5-*6, *18; see also

Migliori, 36 F.4th at 164; id. at 165 n.3 (Matey, J., concurring). What is more,

Petitioners make no attempt to even explain how county boards could verify

whether a date on a declaration is “correct.”

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      Granting Petitioners’ application would not only threaten to disenfranchise

legal voters, it would cause confusion and uncertainty by requiring county boards

to alter established election administration procedures after voting has already

begun. Petitioners seek the sort of disruptive and belated relief that courts should

decline to provide. “When an election is close at hand, the rules of the road must

be clear and settled. Late judicial tinkering with election laws can lead to

disruption and to unanticipated and unfair consequences for candidates, political

parties, and voters, among others.” Merrill v. Milligan, 142 S. Ct. 879, 880 (2022)

(Kavanaugh, J., concurring); see also Order, McLinko v. Degraffenreid, No. 244

MD 2021 (Pa. Commw. Ct. Sept. 24, 2021) (“[P]rospective relief, as requested by

petitioners, is not available for the November 2021 election because it is already

underway”).

      This “important principle of judicial restraint” is aimed at preventing two

separate types of prejudice: (1) “voter confusion,” and (2) “election administrator

confusion.” Democratic Nat’l Comm. v. Wisc. State Legislature, 141 S. Ct. 28, 31

(2020) (Kavanaugh, J., concurring). Avoiding late judicial intervention in elections

“protects the State’s interest in running an orderly, efficient election and in giving

citizens (including the losing candidates and their supporters) confidence in the

fairness of the election.” Id.




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      Petitioners have no excuse for waiting until the 2022 General Election was

underway to file this action. They certainly were aware that 66 of 67 counties

either included undated ballots in their certified returns for the 2022 General

Primary Election or reported to the Department of State that they had no such

ballots. And they were aware of the Commonwealth Court’s two comprehensive

opinions concluding that state and federal law require undated ballots to be

counted. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998 (Pa.

Commw. Ct. Aug. 19, 2022); McCormick for U.S. Senate v. Chapman, 2022 WL

2900112 (Pa. Commw. Ct. June 2, 2022). Indeed, two of the Petitioners were

parties in McCormick. Nor can Petitioners justify trying to bypass the court that

has recently entered orders contrary to the relief Petitioners seek, or for avoiding

normal procedures.

      The U.S. Supreme Court’s recent order vacating the judgment in Migliori

after the case become moot does not excuse Petitioners’ delay. That order did not

alter the legal landscape in any meaningful way. The Supreme Court vacated the

Third Circuit’s judgment because the case had become moot upon the certification

of the underlying election. The Court said nothing about the merits of the case. The

unanimous decision in Migliori thus remains highly persuasive authority.7


      7
       Federal appellate courts continue to treat cases where the Supreme Court
has vacated the judgment as persuasive authority. See, e.g., Czyzewski v. Jevic

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      Regardless, the Commonwealth Court made clear in both Berks and

McCormick that it was not bound by Migliori, but rather found its analysis

persuasive. Berks, 2022 WL 4100998, at *27; McCormick, 2022 WL 2900112, at

*10. So the order vacating Migliori in no way undermines the interpretation of

federal law (and certainly not the interpretation of Pennsylvania law) set forth in

either opinion.

      Moreover, there is no reason that any outstanding questions cannot be raised

in the normal course after the election. As it is, litigation already exists—brought

by several members of the General Assembly’s Republican caucus—that involves

whether the Election Code allows county boards to set aside ballots returned in

envelopes lacking a dated declaration. See Petition for Review, Bonner v.

Chapman, No. 364 MD 2022 (Pa. Commw. Ct. July 20, 2022).

      Hundreds of thousands of Pennsylvania voters have already voted by mail.

They have done so in a legal landscape that confirms if the voter neglects to date

the declaration on their return envelope, their vote still will count. To change

course at this late stage will surely disenfranchise thousands of voters and is the


Holding Corp., 137 S. Ct. 973, 986 (2017) (citing In re Chrysler LLC, 576 F.3d
108, 118 (2d Cir.), cert. granted, judgment vacated sub nom. Indiana State Police
Pension Tr. v. Chrysler LLC, 558 U.S. 1087 (2009)); Doe I v. Governor of
Pennsylvania, 977 F.3d 270, 273 (3d Cir. 2020) (citing Beers v. Att’y Gen. United
States, 927 F.3d 150 (3d Cir. 2019), cert. granted, judgment vacated sub nom.
Beers v. Barr, 140 S. Ct. 2758 (2020)).

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exact sort of disruption that cannot happen. The confusion to the electorate that

would ensue from such a late-breaking order would undermine the public’s faith in

our electoral process.

         II.    The Election Code Requires County Boards to Canvass Timely
                Received Absentee and Mail-in Ballots from Qualified Voters
                Who Neglected to Date the Return Envelope’s Declaration

      The timing of Petitioners’ application is reason enough to deny it. Even if it

were not, this Court should not grant any of Petitioners’ requested relief because

the Election Code does not allow county boards to disqualify any absentee or mail-

in ballot simply because the voter failed to write an inconsequential date on the

return envelope’s declaration. The text, history, structure, and purpose of the

Election Code all confirm that omitting a handwritten date from the declaration of

a voter’s ballot return envelope is not a disqualifying defect.

               A. Signed but Undated Declarations Are “Sufficient”
      County boards’ canvassing and counting of absentee and mail-in ballots are

governed by 25 P.S. § 3146.8, entitled “Canvassing of official absentee ballots and

mail-in ballots.” That section provides boards with criteria for which absentee and

mail-in ballots to canvass and count: ballots that satisfy the statutory criteria “shall

be counted and included with the returns of the applicable election district.” Id.

§ 3146.8(g)(4).




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      The canvassing section directs county boards to canvass and count timely

received mailed ballots submitted by qualified voters if the board “is satisfied that

the declaration is sufficient” and certain other criteria are met. Id. § 3146.8(g)(3).

By statute, the declaration is pre-printed on the back of a ballot’s return envelope

in a form prescribed by the Secretary of the Commonwealth and contains a

statement that the voter is qualified and has not already voted. Id. § 3146.4; id.

§ 3150.14. The Election Code states that voters “shall … fill out, date and sign”

that declaration before returning their ballot. Id. § 3146.6(a); id. § 3150.16 (a).

      The meaning of any statute should be determined based on evidence of the

General Assembly’s intention. 1 Pa.C.S. § 1921(a). Statutory text is the best

indicator of the General Assembly’s intentions, id. § 1921(b), and should be read

in context, with words bearing their common meaning. Crown Castle NG E. LLC

v. Pa. Pub. Util. Comm’n, 234 A.3d 665, 674 (Pa. 2020).

      Here, the General Assembly required only that a declaration be “sufficient.”

The ordinary meaning of “sufficient” has long been “[o]f a quantity, extent, or

scope adequate to a certain purpose or object.” Sufficient, Oxford English

Dictionary (2d ed.) (dating this use of “sufficient” to 1380). The purpose for which

the declaration must be sufficient is for the voter to swear to their eligibility to

vote. 25 P.S. § 3146.4; 25 P.S. § 3150.14. As the Election Code elsewhere

indicates, the voter’s signature on a declaration by itself constitutes the voter’s

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attestation of their qualifications. 25 P.S. § 3553 (creating criminal penalties for

anyone who falsely signs the declaration).

      With a signature alone, “a board can reasonably determine that a voter’s

declaration is sufficient.” In re Canvass of Absentee and Mail-in Ballots of Nov. 3,

2020 Gen. Election, 241 A.3d 1058, 1077 (Pa. 2020) (opinion announcing

judgment); see also Berks, 2022 WL 4100998, at *20 (“[T]he Court concludes that

the inclusion of a handwritten date on the declaration is not needed to make the

declaration sufficient ….”).8

      Tracing the Election Code’s history conclusively confirms that a signed but

undated “declaration is sufficient.” See 1 Pa.C.S. § 1921(c) (courts may look to

“[t]he former law” to resolve questions of legislative intent); In re Nov. 3, 2020

Gen. Election, 240 A.3d 591, 609 (Pa. 2020) (looking to the history of 25 P.S.

§ 3146.8(g)(3) to determine if county boards were authorized to reject mailed

ballots based on signature analysis). In particular, the statutory genealogy shows

that (1) assessing if a “declaration is sufficient” has never included review of a date

and (2) section 3146.8 once included a separate directive that county boards


      8
          Petitioners wrongly assert that counting mailed ballots without a dated
declaration would usurp power that the General Assembly possesses under Article
I, § 4 of the U.S. Constitution. Br. at 17-18. Putting aside flaws in Petitioners’ view
of the U.S. Constitution, there is no problem with this Court employing principles
of statutory construction that the General Assembly enacted to require county
boards to follow statutory language that the General Assembly also enacted.

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disqualify mailed ballots based on the declaration’s date, but the General Assembly

removed that requirement in 1968.

      1937. The initial version of the Election Code allowed some active military

members—referred to as detached electors—to vote by mail. Act of June 3, 1937,

P.L. 1333, No. 320, §§ 1327-1330, 1937 Pa. Laws 1333, 1442-44. Detached

electors had to enclose their ballot in a secrecy envelope, which was then enclosed

in another envelope on which was “printed the affidavit of the detached elector,

together with the jurat of the officer in whose presence the ballot is marked and

before whom the affidavit is made.” Id. § 1328. There was no requirement to date

either the affidavit or the jurat; the Code provided only that the elector “shall

… take out, subscribe and swear to the affidavit … and the jurat shall be

subscribed by the [witnessing] officer.” Id. § 1329.

      Detached electors had to vote “on or before the day of the election,” id., but

counties were instructed not to complete canvassing of their returns until the third

Friday after Election Day. Id. § 1317. During canvassing, county boards were

required to “compare the signature of such absent voter with his signature upon

any register or other record in their possession.” Id. § 1330. If the boards were

“satisfied that the signatures correspond and that the affidavit and jurat are

sufficient,” the boards were to announce the name of the elector and provide an

opportunity for any person present to challenge the ballot for any reason that a

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ballot cast in person could be challenged.9 Id. Without a challenge, the inner

envelope was to be opened and the ballot counted. Id. Because there was no

instruction to date either the affidavit or jurat, the boards’ determination of whether

the affidavit and jurat were “sufficient” did not include any assessment of whether

either was dated.

       1941. Following the 1941 amendments to the Election Code, county boards

were still instructed not to complete canvassing until the second Friday after

Election Day. Act of Aug. 1, 1941, P.L. 672, No. 273, sec. 4, § 1303, 1941 Pa.

Laws 672. And eligible electors were still instructed to complete the ballot “on or

before the day of the election.” Id., sec. 4, § 1306. This version of the Election

Code also did not require that either the affidavit or jurat be dated, but it did

mandate that county boards “set aside” during canvassing any ballot with a return

envelope that “bear[s] a postmark later than the date of the particular Election Day

involved.” Id., sec. 4, § 1307. After setting aside those untimely ballots, counties

were directed to review the remaining ballots to determine if the “affidavit and

jurat are sufficient.” Id.

       1945. The 1945 version of the Election Code continued to require voters to

cast absentee ballots no later than Election Day, Act of Mar. 9, 1945, P.L. 29, No.
       9
        Both the signature-comparison language and time-of-canvassing challenges
have since been removed from the Election Code. See In re Nov. 3, 2020 Gen.
Election, 240 A.3d at 609-10.

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17, sec. 10, § 1306, 1945 Pa. Laws 29, 37, and explicitly made the second Friday

after Election Day the deadline for receipt of an absentee ballot. Id., sec. 10,

§ 1307. These amendments added, for the first time, language instructing voters

that the jurat on the ballot-return envelope “shall be … dated.” Id., sec. 10, § 1306.

      Consistent with the new dating language, the canvassing section was

amended to replace counties’ review of the postmark with a review of the date on

the jurat. Id., sec. 10, § 1307. Under the 1945 version of the canvassing section,

counties were specifically directed to “set aside” all ballots in which the “jurat

bears a date later than the date of the election.” Id. After setting aside those ballots,

counties were to review the remaining ballots to determine whether “the affidavit

and jurat are sufficient.” Id.

      1963. As part of the 1963 amendments permitting certain categories of

civilians to vote absentee, the requirement of a separate affidavit and jurat was

replaced with the single declaration that is still in use today. Act of Aug. 13, 1963,

P.L. 707, No. 379, sec. 22, § 1304, 1963 Pa. Laws 707, 736. Reflecting this

consolidation, the previous instruction to date the jurat became an instruction to

date the declaration: “The elector shall … fill out, date and sign the declaration

printed on [the outer ballot-return] envelope.” Id., sec. 22, § 1306. As before, the

received-by deadline for absentee ballots was the second Friday after Election Day.

Id., sec. 24, § 1308(a). And as before, the canvassing provision specifically

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required county boards to set aside ballots returned in envelopes bearing dates after

Election Day. Id., sec. 24, § 1308(c). All other relevant parts of the Election Code

remained materially unchanged.

      1968. In 1968, the General Assembly aligned, for the first time, the deadline

for absentee voters to complete their ballot, and for county boards to receive those

ballots. Act of Dec. 11, 1968, P.L. 1183, No. 375, sec. 8, § 1308(a). After creating

a single deadline, the General Assembly deleted from the Election Code’s

canvassing section the requirement that counties set aside ballots based on the date

appearing on the ballot-return envelope. Id., sec. 8, § 1308(c).

      2019. From 1968 to 2019, these provisions of the Election Code were

materially unchanged. When the General Assembly passed Act 77 of 2019, giving

all qualified voters the option to vote by mail, it adopted almost wholesale the pre-

existing text and procedures for absentee voting, including the language that voters

“shall … fill out, date and sign the declaration” on the return envelope. Act of Oct.

31, 2019, P.L. 552, sec. 8 (adding Article XIII-D to the Election Code). The

General Assembly likewise extended the existing canvassing procedures for

absentee ballots to no-excuse mail-in ballots. Id., sec. 7, § 1308. Act 77 continued

to impose a single deadline for voters to cast, and for counties to receive, most

absentee and all mail-in ballots. Id. sec. 6, § 1306; id., sec. 7, § 1308; id., sec. 8.




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      This statutory history illustrates two irrefutable points relevant to the proper

interpretation of “sufficient.” First, since 1937, the Code’s canvassing procedures

entailed reviewing the sufficiency of some form of a voter attestation, and that

determination of sufficiency has always been distinct from any review of a date

written on that attestation. Second, the General Assembly “understands how to

craft language requiring [canvassers to review an envelope date] when it chooses

to do so,” In re Nov. 3, 2020 Gen. Election, 240 A.3d at 609, and that requirement

was eliminated in 1968.

      Finally, there is even greater, and independent, reason to interpret

“sufficient” consistent with its ordinary meaning and consistent with the clear

lessons of this statutory history. For “election matters specifically,” this Court

interprets statutes “mindful of the longstanding and overriding policy in this

Commonwealth to protect the elective franchise.” Pa. Democratic Party v.

Boockvar, 238 A.3d 345, 360-61 (Pa. 2020). That means that election statutes

should be construed in favor of the right to vote. Id. at 361. And “[t]he power to

throw out a ballot for minor irregularities … must be exercised very sparingly and

with the idea in mind that either an individual voter or a group of voters are not to

be disfranchised at an election except for compelling reasons.” Appeal of James,

105 A.2d 64, 66 (Pa. 1954) (cleaned up).




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      Amendments to the Election Code establish that the purpose of the

“shall … date” language was to separate timely and untimely ballots. Once the

General Assembly aligned the deadline for a voter to send, and for a county board

to receive, a mailed ballot, it removed the specific provision directing county

boards to set aside certain ballots based on the written date. See supra at 21. So

while the “shall … date” language still appears in the Election Code, the date

written on the declaration no longer serves its intended function.10 Because the date

no longer serves any function, see infra at 30-35, a “sufficient” declaration should

not be interpreted to require disenfranchising voters who fail to supply that

inconsequential information.

             B. Instructing that Voters Shall Date Their Declaration Does Not
                Require Disenfranchising Voters Who Forget to Write a Date
      Apart from this history, language that voters “shall … date” the return-

envelope declaration, 25 P.S. §§ 3146.6(a), 3150.16(a), does not require—or even

permit—disenfranchising voters who neglect to do so.




      10
         This Court previously recognized that the Election Code contains artifacts
of prior voting regimes. In re Nov. 3, 2020 Gen. Election, 240 A.3d at 610 n.24
(“[T]here are some vestiges remaining in the Election Code of the prior, now
eliminated system for time-of-canvassing ballot challenges…. Now untethered to a
procedure for asserting time-of-canvassing challenges in Section 3146.8(g)(3),
however, we view the references to ballots in these provisions to be the overlooked
remnants of a prior, now eliminated process.”).

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        1. Petitioners wrongly suggest that this Court already has held that the

“shall … date” language means ballots lacking an envelope date cannot be

counted. Br. at 13-15. In In re Canvass, this Court held, without producing a

majority opinion that certain counties could count mailed ballots returned without a

handwritten date for the 2020 General Election. When this Court rules without a

majority opinion, the holding is the narrowest opinion in support of the result.

Commonwealth v. Alexander, 243 A.3d 177, 197-98 (Pa. 2020). Because the result

was that counties could count the sorts of ballots at issue here, the Court’s holding

is the narrowest rationale for counting ballots in that election without a handwritten

date.

        Thus, even if In re Canvass might be read to interpret the Election Code as

permitting county boards to set aside ballots based on a voter’s failure to date the

return-envelope declaration, this Court should not adhere to that interpretation. The

arguments and record that have been developed since In re Canvass were not

presented in that case, which—due to the urgent need to certify presidential and

other election results following the November 2020 election—was a post-election

challenge resolved only five days after this Court exercised extraordinary

jurisdiction. Indeed, the difficulty of resolving that action in an expedited

proceeding that departed from the ordinary course is all the more reason to avoid

doing so now, especially when there is no necessity for doing so.

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      2. Language stating that mail-in and absentee voters “shall fill out, date and

sign” the declaration on the outer ballot-return envelope is not located in the

section of the Election Code that in fact governs which mailed ballots county

boards must or must not canvass. Rather the “shall … date” language is located in

sections of the Election Code that provide instructions to voters. 25 P.S.

§§ 3146.6(a), 3150.16(a). Disqualifying a mailed ballot for a reason that the

General Assembly has not included in the canvassing directives given to county

boards would distort the structure and operation of the Election Code.

      Indeed, this Court has repeatedly (and correctly) looked to the canvassing

provision to resolve when and whether county boards may or may not canvass and

count mailed ballots. In In re November 3, 2020 General Election, for example,

this Court ruled that nothing in § 3146.8 permits county boards to disqualify

mailed ballots based on an analysis of the voter’s signature. 240 A.3d at 605-11.

Likewise, in Pennsylvania Democratic Party, this Court reviewed § 3146.8 to

determine that county boards may not canvass and count mailed ballots not placed

in the inner secrecy envelope. 238 A.3d at 378-80.

      History again confirms that the “shall … date” language found in §§ 3146.6

and 3150.16 does not answer whether ballots returned with an undated declaration

should be disqualified. Since 1945, the Election Code has included language that

the voter attestation on a ballot return envelope “shall be … dated” or language

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that voters “shall . . . date” the attestation. See supra at 19-21. And from 1945 to

1968 the Election Code separately included in the canvassing section an

instruction that county boards set aside ballots returned in an envelope bearing a

date after Election Day. Id. Thus, the General Assembly has never used language

that a voter “shall” date their attestation to indicate that the consequence of failing

to do so is disqualification. When the General Assembly intends for a mailed ballot

to be disqualified, that instruction has always appeared in the section of the

Election Code governing county boards’ canvassing of mailed ballots. That is not

the case here.

      3. Determining the consequences of omitting a date solely by reference to

the “shall … date” language in §§ 3146.6(a) and 3150.16(a) would conflict with

the Statutory Construction Act.

      Assigning “shall … date” dispositive weight would lead to absurd results.

Contra 1 Pa.C.S. § 1922(1). Applying the same strict interpretation elsewhere in

the Election Code would disenfranchise voters for exceedingly trivial reasons. For

example, the Election Code directs that voters who vote in person by ballot “shall

retire to one of the voter compartments, and draw the curtain or shut the screen

door.” 25 P.S. § 3055(a). Those same voters are told that they “shall fold [their]

ballot … in the same way it was folded when received” before returning it. Id.

§ 3055(d). “[N]o one would reasonably argue” that the General Assembly meant to

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use “shall” in these instances to indicate that voters who do not satisfactorily draw

a curtain or shut a door, or who do not fold their ballot properly before returning it,

must have their ballot thrown out. Berks, 2022 WL 4100998, at *14.

      Nothing in the Election Code suggests the General Assembly intended such

absurd results. Rather, when the General Assembly means for certain conduct or

omissions to be disqualifying, it says so explicitly. See, e.g., 25 P.S.

§ 3146.8(g)(1)(ii) (limiting the set of absentee and mail-in ballots that may be

canvassed to those “received in the office of the county board of elections no later

than eight o’clock P.M. on the day of the primary or election”); id.

§ 3146.8(g)(4)(ii) (if a voter returns an absentee or mail-in ballot with identifying

markings on the secrecy envelope, “the envelopes and the ballots contained therein

shall be set aside and declared void”); id. § 3146.8(d) (absentee and mail-in ballots

cast by voters who died before Election Day “shall be rejected”).

      Another perverse result would be that, because the date itself no longer

serves a purpose relevant to voting, see infra at 30-35, voters would be

disenfranchised for failing to write inconsequential information. The absurdity of

such a result is underscored by the Election Code’s silence about what date a voter

is expected to write. See Berks, 2022 WL 4100998, at *18. At the very least, voters

could reasonably understand it to mean the date the declaration is signed or the




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date the ballot was completed. In practice, county boards understand the instruction

to mean any date. See id. at *5-*6, *18; see also Migliori, 36 F.4th at 164.

      4. Even if this Court were to disregard the statutory structure and context,

and limits its analysis in the text of 25 P.S. §§ 3146.6(a) and 3150.16(a), the “shall

… date” language found in those sections still would not require setting aside a

ballot because the voter failed to date the return-envelope declaration. Use of

“shall” in a statute does not necessarily reflect an intention to impose a mandatory

requirement. See MERSCORP, Inc. v. Del. Cnty., 207 A.3d 855, 865-70 (Pa.

2019); see also In re Canvass, 241 A.3d at 1071 (opinion announcing judgment).

Both mandatory and directory text is meant to be followed, but only

noncompliance with a mandatory provision warrants disqualifying a ballot. Berks,

2022 WL 4100998, at *15. The distinction between directory and mandatory uses

of “shall” is by no means limited to the Election Code or election cases. See id. at

*22 (collecting cases). Nor is the distinction unique to Pennsylvania law; it is

recognized in a variety of other jurisdictions. See id. at *16-*17 (collecting election

cases from other jurisdictions); id. at *22 (collecting non-election cases from other

jurisdictions).

      “Whether a particular statute is mandatory or directory does not depend

upon its form, but upon the intention of the [General Assembly], to be ascertained

from a consideration of the entire act, its nature, its object, and the consequences

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that would result from construing it one way or the other.” MERSCORP, 207 A.3d

at 866 (internal citations omitted).

      For the reasons described in the following section, those factors do not

permit disqualifying a voter for neglecting to date their declaration.

             C. Any Statutory Ambiguity Must Be Interpreted to Support the
                Right to Vote
      If § 3146.8’s use of “sufficient,” either on its own or read in pari materia

with the “shall … date” language, were somehow ambiguous, county boards still

could not set aside a qualified voter’s timely received mailed ballot just because

the voter forgot to date the return envelope’s declaration.

      Ambiguous statutes should be interpreted in light of the “occasion and

necessity for the statute,” the “mischief to be remedied,” “the object to be

attained,” and the “consequences of a particular interpretation.” 1 Pa.C.S.

§ 1921(c)(1), (3), (4), (6). For the Election Code, “the purpose and objective … is

to obtain freedom of choice, a fair election and an honest election return.” Pa.

Democratic Party, 238 A.3d at 356 (cleaned up). Therefore, the Election Code

“should be liberally construed so as not to deprive, inter alia, electors of their right

to elect a candidate of their choice,” id. (cleaned up), and interpreted “mindful of

the longstanding and overriding policy in this Commonwealth to protect the

elective franchise,” id. at 360-61 (cleaned up).



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      Following these tenets of interpretation, the Election Code must be read to

forbid excluding ballots of voters who neglect to date the declaration on their

ballot’s return envelope. That handwritten date is not necessary for any relevant

purpose, does not remedy any mischief, and does not advance any other objective.

In re Canvass, 241 A.3d at 1077 (opinion announcing judgment) (explaining why a

handwritten date is “unnecessary and, indeed, superfluous”); Berks, 2022 WL

4100998, at *20 (“[T]he parties have not identified a specific purpose served by

dating the declaration on the return envelope, and the Court cannot discern any.”);

see also Migliori, 36 F.4th at 164 (“Ignoring ballots because the outer envelope

was undated, even though the ballot was indisputably received before the deadline

for voting[,] serves no purpose other than disenfranchising otherwise qualified

voters.”).

      First, the date on the declaration is not used to determine a voter’s

qualification. In Pennsylvania, a person may vote if, as of Election Day, they are

18 years old, have been a citizen for at least one month, have lived in Pennsylvania

and in their election district for at least thirty days, and are not imprisoned for a

felony conviction. Pa. Const. art. VII, § 1; 25 P.S. § 2811(2), (3); 25 Pa.C.S.




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§ 1301(a).11 Whether the declaration on a return envelope is dated is not relevant to

any of these criteria.

      Relatedly, the date does not provide a point in time against which to measure

the elector’s eligibility to cast the ballot. Eligibility to vote is based on an elector’s

qualification as of Election Day. See Pa. Const. art. VII, § 1 (imposing residency

requirements for the time period “immediately preceding the election”); 25 P.S.

§ 2811(2), (3) (same); id. § 3146.8(d) (directing county boards to discard absentee

and mail-ballots cast by individuals who died before Election Day); 25 Pa. C.S.

§ 1301 (allowing anyone “who will be at least 18 years of age on the day of the

next election” to register). Although Petitioners suggest the date on the declaration

serves this function, Br. at 15, they later correctly concede that “[t]he date

requirement has nothing to do with whether [an] individual satisfies the four

qualifications to vote in Pennsylvania,” id. at 22.

      Second, the voter’s handwritten date on the return envelope no longer assists

in separating timely absentee or mail-in ballots from untimely ones.12 Again, the


      11
         See also Mixon v. Commonwealth, 759 A.2d 442, 451 (Pa. Commw. Ct.
2000) (holding that individuals with felony convictions, other than those currently
incarcerated, may register to vote); 1972 Op. Atty. Gen. No. 121 (concluding
durational residency requirements longer than 30 days are unenforceable); U.S.
Const. amend. XXVI (prohibiting denial of right to vote to citizens 18 years of age
or older because of age).
      12
         In 2020, three Justices suggested a declaration date may serve this
purpose. In re Canvass, 241 A.3d at 1091 (Dougherty, J., dissenting). Yet, for the

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General Assembly removed language directing county boards to set aside untimely

mailed ballots based on the declaration date once it aligned the deadlines for

sending and receiving a mailed ballot. Act of Dec. 11, 1968, P.L. 1183, No. 375,

sec. 8, § 1308(c). The “shall … date” language is simply an artifact of an older

version of the Election Code, no longer serving any relevant purpose. See In re

Nov. 3, 2020 Gen. Election, 240 A.3d at 610 n.24 (recognizing that the Election

Code contains “vestiges” of prior processes).

      Of course, it is still the case that the deadline for a voter to send, and for the

county to receive, a mailed ballot are the same. 25 P.S. §§ 3146.6(c),

3146.8(g)(1)(ii), 3150.16(c). County boards have a statutory obligation to track the

date that every absentee or mail-in ballot was received and make that information

available for public inspection. 25 P.S. §§ 3146.9(b)(5), 3150.17(b)(5). They have

procedures for doing so—including stamping ballots as “received” and scanning

return envelopes’ barcodes into the SURE system. See Pa. Dep’t of State,

Guidance Concerning Examination of Absentee and Mail-in Ballot Return

Envelopes, Version 3.0, at 2-3 (Sept. 26, 2022) (attached as Exhibit A to

Petitioners’ Application for Extraordinary Jurisdiction); In re Canvass, 241 A.3d at


election at issue there, this Court had extended the received-by deadline such that,
as with elections before 1968, it was not the same as the sent-by deadline. Pa.
Democratic Party, 238 A.3d at 371-72. That unique circumstance is inapplicable to
the 2022 General Election.

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1077 (opinion announcing judgment); Berks, 2020 WL 4100998, at *6. Plus,

timely and untimely ballots remain segregated. Pennsylvania law and procedures

thus provide “a clear and objective indicator of timeliness, making any handwritten

date unnecessary and, indeed, superfluous.” In re Canvass, 241 A.3d at 1077

(opinion announcing judgment). In fact, the date written on a return envelope

would be an exceedingly poor proxy for determining if a ballot was received by 8

p.m. on Election Day, as ballots dated in advance of that day certainly may arrive

sometime after.

      Because in all cases county boards independently verify if a ballot was

received by Election Day’s 8 p.m. deadline without reference to the date

handwritten on the return envelope, the handwritten date is not a tool for

preventing fraudulently back-dated votes. And because Pennsylvania employs only

a received-by deadline, 25 P.S. §§ 3146.6(c), 3150.16(c), back-dating is not a way

to fraudulently convert an ineligible ballot into a seemingly eligible one. A ballot is

either received by the deadline or it is not.

      Third, the handwritten date on a mailed ballot’s return envelope does not

determine which vote to count in the event someone voted absentee or by mail and

also tried to vote in person. Election district registers identify which voters have

requested an absentee or mail-in ballot. 25 P.S. §§ 3146.6(b)(1), 3150.16(b)(1).

Those voters may not vote in person unless they surrender their blank absentee or

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mail-in ballot, and its return envelope, to their polling place; otherwise, they may

vote only provisionally. Id. §§ 3146.6(b)(2)-(3), 3150.16(b)(2)-(3). If a voter

returns a completed absentee or mail-in ballot before the deadline and also casts a

provisional ballot at a polling place, only the absentee or mail-in ballot is counted,

regardless of the date written on it. Id. § 3050(a.4)(5)(ii)(F).13

      Consistent with the date’s insignificance, county boards have, without any

incident, counted ballots with “incorrect” dates—meaning dates that do not

accurately reflect when the envelope declaration was signed (or perhaps when the

ballot was completed). Berks, 2020 WL 4100998, at *5-*6, *18; Migliori, 36 F.4th

at 164; id. at 165 n.3 (Matey, J., concurring). And while Petitioners want this Court

to order county boards to deviate from this common practice, but for obviously

wrong dates—such as birth dates or dates with the incorrect year—there is no way

for county boards to determine that every date written on a declaration envelope is

actually the date the declaration was signed (or even the date the ballot was
      13
         Petitioners cite an instance in which the handwritten date was cited as
evidence in a criminal complaint against an individual who allegedly attempted to
fraudulently vote. Br. at 15. But even there, the date played no role in determining
that the ballot at issue would not be counted. By the time the alleged fraud was
discovered, county commissioners had already determined to exclude the ballot
because the SURE system records showed—without reference to the handwritten
date—that “the elector had died prior to the Primary Election Day.” Berks, 2022
WL 4100998, at *21 n.14; see also Affidavit of Probable Cause ¶ 2 (attached as
Ex. A to Petitioners’ Application for Extraordinary Jurisdiction) (stating that
deceased individual had been removed from voting rolls before Lancaster County
received fraudulent vote).

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completed). Berks, 2020 WL 4100998, at *18. That county boards do count—and

indeed have no way to identify—“incorrectly” dated declarations underscores that

the underlying information is unimportant.

      In sum, the date serves no “weighty interest.” In re Canvass, 241 A.3d at

1077-78 (opinion announcing judgment); Berks, 2022 WL 4100998, at *24. The

consequence of interpreting the Election Code to require that ballots be excluded if

the voter does not include a date on the declaration would therefore be to deprive

individuals of their right to elect their preferred candidate for failing to provide

their county board with inconsequential information, without serving any interest

to the state. That would be contrary to the presumption this Court applies when

confronted with ambiguous directives in the Election Code.

       III.   Federal Law Requires Respondent Boards to Include in their
              Certified Results Timely Received Absentee and Mail-in Ballots
              Cast by Qualified Voters
      Because Pennsylvania law provides an independent and adequate basis to

require county boards to canvass and count timely received absentee and mail-in

ballots cast by qualified voters who neglected to date the return envelope’s

declaration, this Court need not consider what result federal law may separately

require. But if this Court concludes that only a dated and signed declaration is

“sufficient” under the Election Code, federal law still prohibits county boards from




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setting aside a ballot on the basis that the voter omitted a date from the return

envelope’s declaration.

       Under federal law:

       No person acting under color of law shall … deny the right of any
       individual to vote in any election because of an error or omission on
       any record or paper relating to any application, registration, or other
       act requisite to voting, if such error or omission is not material in
       determining whether such individual is qualified under State law to
       vote in such election.

52 U.S.C. § 10101(a)(2)(B). This section, passed initially as part of the Civil

Rights Act of 1964, was enacted to end trivial requirements that “served no

purpose other than as a means of inducing voter-generated errors that could be

used to justify” denying the right to vote. Fla. State Conf. of NAACP v. Browning,

522 F.3d 1153, 1173 (11th Cir. 2008).

       When this Court last considered the class of ballots at issue here, four

Justices observed that voiding ballots for minor errors might conflict with 52

U.S.C. § 10101(a)(2)(B). In re Canvass, 241 A.3d at 1074 n.5 (opinion announcing

judgment); id. at 1089 n.54 (Wecht, J., concurring and dissenting). But because the

relevance of that federal statute had not been briefed, and because this Court

ordered that, under state law, timely received ballots without the voter’s

handwritten date on the return envelope must be counted in the 2020 election, there

was no reason to resolve whether § 10101(a)(2)(B) also required counting those

ballots.
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      Since then, the Third Circuit has addressed the federal question that this

Court first identified. In a case about ballots identical in all relevant respects to

those at issue here, the Third Circuit determined that because the date on a return

envelope’s declaration is not material to determining a voter’s qualifications,

omitting a date cannot justify refusing to count a ballot. Migliori, 36 F.4th at 164.

This Court should follow the Third Circuit’s persuasive analysis because

disqualifying ballots based on omitting a date from the return-envelope declaration

denies the right to vote for an immaterial omission.14

      Applying the federal statute here, setting aside a ballot return envelope prior

to canvassing “den[ies] the right … to vote.” 52 U.S.C. § 10101(a)(2)(B). Indeed,

§ 10101 itself defines its use of “vote” to include “all action necessary to make a

vote effective including, but not limited to, registration or other action required by

State law prerequisite to voting, casting a ballot, and having such ballot counted

and included in the appropriate totals of votes cast with respect to candidates for

public office and propositions for which votes are received in an election.” 52

      14
         The Supreme Court’s order vacating the judgment in Migliori, a
consequence only of the case becoming moot after one party conceded the election
following the Third Circuit’s judgment, is not an assessment of the merits of the
Third Circuit’s analysis. See supra at 13-14 n.7. In any event, an order vacating the
Third Circuit’s judgment is particularly irrelevant here given that this Court was
never bound by the Third Circuit’s judgment. Stone Crushed P’ship v. Kassab
Archbold Jackson & O’Brien, 908 A.2d 875, 884 (Pa. 2006).



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U.S.C. § 10101(e). Next, a mailing envelope is a “record or paper.” Assuming

omission of a date is a disqualifying error, then dating the return-envelope

declaration is an “act requisite to voting.” Finally, dating the declaration is not

“material” because the date does not assist in determining if the ballot was cast by

someone eligible to vote under Pennsylvania law.

      Petitioners’ exclusive reliance on a dissent by Justice Alito is misguided. In

addition to the obvious fact that it is a dissent, even Justice Alito confessed that he

had only limited time to study the issue and did not rule out changing his view.

Ritter, 142 S. Ct. at 1824 (Alito, J., dissenting). Petitioners ignore that cautionary

note, instead repeating a number of observations that are inconsistent with

§ 10101’s text or with Pennsylvania law.

      Petitioners insist that § 10101 has no application when a ballot is not filled

out correctly, Br. at 20, or when an error is made during the “act of voting,” id. at

22. But here, the mistake is not on the ballot or in the act of voting. The mistake is

on the return-envelope declaration that Petitioners believe must be properly dated

if the envelope is to be opened and the ballot within is to be counted. If Petitioners

are right that Pennsylvania law demands setting aside all return envelopes lacking

a date, or containing the “incorrect” date, then the ballots within those envelopes

will never be opened. 25 P.S. § 3146.8(g)(4) (directing that only ballots are opened

only if they satisfy the canvassing criteria in § 3146.8(g)(3)).

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      Additionally, Petitioners suggest that a voter whose vote will not count for

failing to comply with some state rule has not been denied the chance to vote, but

instead has not followed the rules for voting. Br. at 20-21. That argument not only

renders § 10101—which presumes noncompliance with some state-imposed

prerequisite to voting—completely null, it also ignores that § 10101 itself defines

denials or the right to vote to include when someone’s ballot has not been counted

and included in the final election results. 52 U.S.C. § 10101(e).15

      Finally, § 10101(a)(2)(B) is not inapplicable, as Petitioners urge, Br. at 21-

22, because the declaration date is, as they concede, immaterial to eligibility.

Petitioners’ argument flips § 10101 on its head, and encourages this Court to

conclude that errors and omissions may allow disenfranchisement so long as the

requested information is “not material in determining whether [an] individual is

qualified under State law to vote.” Section 10101(a)(2)(B) applies when state law

would disenfranchise a voter for making an error or omission on a record or paper
      15
          Petitioners identify other conceivable errors, such as voting after Election
Day, not using the secrecy envelope, or returning a ballot to the wrong location
which might prevent a voter’s ballot from being counted. Br. at 20. These errors
are outside the limited scope of § 10101(a)(2)(B) because none is an “error or
omission on any record or paper,” not because the voters have not been denied the
right to vote as defined under § 10101(e). See Democratic Cong. Campaign Comm.
v. Kosinski, No. 22-1029 (RA), 2022 WL 2712882, at *21 (S.D.N.Y. July 13,
2022) (noting that with respect to the scope of the materiality provision, “[a] ballot
that is cast in a polling place at which a voter is ineligible to vote is not analogous”
to “missing handwritten dates on absentee ballot envelopes” or “the inclusion of
social security numbers on voter registration forms”).

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if the erroneous or omitted information was not needed to judge the voter’s

qualifications. See Martin v. Crittenden, 347 F. Supp. 3d 1302, 1308 (N.D. Ga.

2018). In other words, where the required information was “not material in

determining whether [an] individual is qualified under State law.” 52 U.S.C.

§ 10101(a)(2)(b).

        IV.   No Petitioner Has Standing
      Last, neither the Voter Petitioners nor the Republican Committee Petitioners

have the “substantial, direct, and immediate interest” needed to establish standing.

See Markham v. Wolf, 136 A.3d 134, 140 (Pa. 2016).

      The Voter Petitioners and Political Committee Petitioner each allege an

injury to their general interest in obedience to the law. Br. at 6, 8-9. Their

professed interest in obedience with the law is not an interest that surpasses that of

any other citizen or the public generally. Fumo v. City of Phila., 972 A.2d 487, 496

(Pa. 2009).

      The Voter Petitioners also claim that counting other people’s votes injures

them by diluting their own vote. Br. at 6. Courts in Pennsylvania and elsewhere

have overwhelmingly rejected this theory of standing, repeatedly explaining that

claims of “vote dilution” assert only a generalized grievance.

      In Kauffman v. Osser, 271 A.2d 236 (Pa. 1970), for example, several voters

sought to challenge statutes allowing certain electors to vote absentee, insisting


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that their votes would be “diluted by the [allegedly invalid] absentee votes.” Id. at

239. That is precisely the injury the voter Petitioners allege here. But this Court

concluded that “the interest which appellants claim is nowise peculiar to them but

rather it is an interest common to that of all other qualified electors.” Id. at 240.

      Federal courts across the country have consistently come to the same

conclusion, reasoning that one voter does not suffer any particularized injury from

another person being allowed to vote (particularly where, as here, that other person

is an indisputably qualified elector). E.g., Wood v. Raffensperger, 981 F.3d 1307,

1314-15 (11th Cir. 2020); Bognet v. Sec’y Commonwealth of Pa., 980 F.3d 336,

356-60 (3d Cir. 2020), cert. granted and judgment vacated on other grounds, 141

S. Ct. 2508 (2021); O’Rourke v. Dominion Voting Sys., Inc., No. 21-1161, 2022

WL 1699425, at *2 (10th Cir. May 27, 2022); Election Integrity Project Cal., Inc.

v. Weber, No. 21-32, 2021 WL 4501998, at *4 (C.D. Cal. June 14, 2021); King v.

Whitmer, 505 F. Supp. 3d 720, 735-36 (E.D. Mich. 2020); Moore v. Circosta, 494

F. Supp. 3d 289, 312-13 (M.D.N.C. 2020).

      The judicial consensus makes sense. Allowing one person to vote does not

prevent any Petitioners from voting, and no Petitioner’s vote is “otherwise

disadvantaged relative to those of the entire population of Pennsylvania.” Toth v.

Chapman, No. 22-208, 2022 WL 821175, at *7 (M.D. Pa. Mar. 16, 2022) (three-

judge panel).

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      Moreover, the voters still must show that counting ballots returned in an

envelope with an undated declaration inflicts a particularized injury on them. Yet,

removing a burden on one person’s right to vote does not injure anyone else.

Donald J. Trump for President v. Boockvar, 502 F. Supp. 3d 899, 919 (M.D. Pa.

2020). Put differently, no single voter is injured because an election is made

accessible to another qualified voter, or because representative government has

been made a better reflection of the will of the people.

                                  CONCLUSION

      For the reasons above, this Court should deny the request to exercise either

King’s Bench Power or Extraordinary Jurisdiction.




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October 19, 2022                      Respectfully submitted,


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                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Case Records

Public Access Policy of the Unified Judicial System of Pennsylvania that require

filing confidential information and documents differently than non-confidential

information and documents.


Dated: October 19, 2022                          /s/ Jacob B. Boyer
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                          CERTIFICATE OF LENGTH
      I certify that this brief complies with the word count requirement set forth in

Pennsylvania Rule of Appellate Procedure 2135(a)(1). This brief is 10,123 words. I

have relied on Word’s word count function to determine the length of this brief.


Dated: October 19, 2022                             /s/ Jacob B. Boyer
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